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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 JOHN ANTHONY CASTRO                                  )
 12 Park Place, Mansfield, TX 76063                   )
                                                      )
       Plaintiff,                                     )
                                                      )
 v.                                                   )
                                                      )
 SECRETARY OF STATE DAVID                             )
 SCANLAN                                              )            Case No. 1:23-cv-00531
 107 North Main Street, Room 204, Concord,            )
 NH 03301                                             )
                                                      )
 DONALD JOHN TRUMP                                    )
 1100 S. Ocean Blvd, Palm Beach, FL 33480             )
                                                      )
       Defendants.                                    )

                    PLAINTIFF’S AMENDED WITNESS AND EXHIBIT LIST
       Plaintiff notifies the Court that he was battling a severe case of COVID since Christmas

Day that become entirely debilitating on the evening of December 27. This is evidenced by the

oddly titled prior witness and exhibit list. Today is the first day that Plaintiff has been able to be

somewhat functional.

       Plaintiff provides this updated witness and exhibit list.

       Witness List:

       1.      David Obed Garza.

       2.      Alexander Dominic Gomez.

       Exhibit List:

       1.      Invoice for Campaign Website Hosting.

       2.      Invoices and other evidence of cost of flight, hotel, and other campaign travel costs

               to and from New Hampshire for campaign staffers David Obed Garza and

               Alexander Dominic Gomez.

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3.    Proof of ballot placement on the New Hampshire Republican Primary ballot.

4.    Proof of ballot placement on the Nevada Republican Primary ballot.

5.    Proof of ballot placement on the Arizona Republican Primary ballot.

6.    South   Carolina    U.S.   Magistrate’s     Recommendation        that   Filing   Fee’s

      Constitutionality is in Question.

7.    2016 New Hampshire Republican Primary Election Results.

8.    Email exchange between Plaintiff and Ellen de Graffenreid of Grinnel College

      indicating they only polled between the two leading candidates from both parties:

      Biden and Trump.

9.    Email exchange between Plaintiff and Meri Power-Ayer of Suffolk University

      confirming I would be on the next poll.

10.   Email exchange between Plaintiff and Jason Sclar of HarrisX who said they defer

      to Ballotpedia to identify “noteworthy” candidates.

11.   Ballotpedia website print-out of definition of noteworthy candidate.

12.   Email exchange between Plaintiff and Ballotpedia regarding Plaintiff’s extensive

      media coverage that directly goes to the outcome of the election: enforcing the U.S.

      Constitution, Amendment 14, Section 3.



Dated: December 30, 2023.                     Respectfully submitted,

                                              By: /s/ John Anthony Castro
                                              John Anthony Castro
                                              12 Park Place
                                              Mansfield, TX 76063
                                              (202) 594 – 4344
                                              J.Castro@JohnCastro.com
                                              Plaintiff Pro Se



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                                CERTIFICATE OF SERVICE

         I certify that a true and accurate copy of the foregoing document was electronically filed

with the Court via CM/ECG on December 30, 2023 and that all parties are registered users of said

system and will be electronically notified.

                                                     /s/ John Anthony Castro
                                                     John Anthony Castro




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